Dear Honorable Hooper,
The Attorney General has received your request for an opinion with respect to the following question:
    "Is Worker's Compensation insurance required on volunteers for our civil defense office throughout the State of Oklahoma?"
The Workers' Compensation Act (hereafter "Act") was extensively remodified by enactments of the Oklahoma Legislature in laws 1977, c.234, 1 et seq., the majority of provisions of which were to become effective July 1, 1978. One of the significant changes to the Act was the inclusion of certain state employees under the provisions of the Act. 85 O.S. 2b A (1977) provides in part, as follows:
    "All departments, instrumentalities and institutions of this state and divisions thereof, counties and divisions thereof . . . shall carry Workers' Compensation Insurance on each employee, whether engaged in a governmental or a proprietary function, as of July 1, 1978 . . ."
Definitions used within the Act are set forth in 85 O.S. 3 (1977), which definitions include the term "employee".
    "(4) `Employee' means any person engaged in the employment of any person, firm or corporation covered under the terms of the Workers' Compensation Act . . . `Employee' shall also include a member of the Oklahoma National Guard while in response to state orders and any authorized voluntary or uncompensated worker, rendering services as a fire fighter, police officer or civil defense worker. (Emphasis added)
 By reason of the language of the Act, the answer to your question mustbe in the affirmative: Workers' Compensation insurance is required forvoluntary or uncompensated persons rendering services as a civil defenseworker.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
MANVILLE T. BUFORD, ASSISTANT ATTORNEY GENERAL CHIEF, CIVIL DIVISION